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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


Case No: 1:20-cv-3715-KLM

DEBORAH LAUFER,

Plaintiff,

v.

CAMPFIELD PROPERTIES, LLC.,

Defendant(s).
______________________________________________________________________________

              PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS

______________________________________________________________________________

        I HEREBY CERTIFY that the instant action is not related to any pending or closed civil

or criminal action previously filed in this Court, or any other Federal or State Court or

administrative agency.

        I HEREBY CERTIFY that, on February 25, 2021, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will automatically send

e-mail notification of such filing to the attorneys of record.



                                            /s/ Philip Michael Cullen, III.
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